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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

UNITED STATES OF AMERICA,                          )
                                                   )
                Plaintiff,                         )
                                                   )
v.                                                 )   No. 4:10CR640 HEA
                                                   )
PAUL F. HOUSE, and                                 )
CHAROLETTE R. HOUSE,                               )
                                                   )
                Defendants.                        )

                                                 ORDER

        This matter comes before the Court upon the Defendants’ Motion to Continue Trial [Doc.

#43] and Waivers of Speedy Trial [Docs. 44 and 46].

        This Court, upon careful consideration of the motion of Defendants, and on review of the

record, finds that the ends of justice would best be served by continuing the trial setting as to

Defendants Paul F. House and Charolette R. House to June 20, 2011, and that a continuance of

these proceedings outweighs the best interest of the public and the defendants in a speedy trial.

Furthermore, failure to grant a continuance would deny counsel for the Defendant and the

Government the reasonable time necessary for effective preparation, taking into account the

exercise of due diligence.

        Defendants have previously filed with this Court a signed Waiver of Speedy Trial under

the Speedy Trial Act, 18 U.S.C. §3161, [Doc. #109].

        Concluding that the administration of justice will best be served by continuing this case,

the Court will reset trial in this proceeding.

        Accordingly,
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       IT IS HEREBY ORDERED, that the trial setting as to Defendants Paul F. House and

Charolette R. House is RESET to June 20, 2011, at 9:30 a.m.

       Dated this 13th day of April, 2011.



                                             ________________________________________
                                                   HENRY EDWARD AUTREY
                                                 UNITED STATES DISTRICT JUDGE




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